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                                                         Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )
     v.                              )     Case No. 18-cr-30023
                                     )
CHRISTOPHER HARRIS,                  )
                                     )
     Defendant.                      )

                              OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court are Defendant Christopher Harris’ Motion to

Dismiss or Alternatively Transfer Venue to the United States

District Court for the District of Arizona (d/e 40), Motion to Dismiss

Indictment for Violation of Sixth Amendment Speedy Trial Right

(d/e 42), and Motion to Suppress Unduly Suggestive Identification

(d/e 41). For the reasons set forth below, the Court DENIES Harris’

motions.

                          I. BACKGROUND

     The Government alleges that in January 2017, Angelica Perez,

a co-conspirator, met with Defendant on numerous occasions in

Quincy, Illinois to carry out a conspiracy to distribute and transport


                            Page 1 of 20
a mixture or substance containing a detectable amount of

methamphetamine. See Response, d/e 53, p. 2. The first meeting

occurred on January 7, 2017, which was prompted by Defendant

texting Ms. Perez about meeting with her to give money to place on

the jail account of Ms. Perez’s boyfriend, Phillip Mayfield. Id. Mr.

Mayfield was incarcerated at the Adams County Jail awaiting trial

for an unrelated state offense. Id. Defendant and Ms. Perez met at

the Microtel Hotel in Quincy, Illinois, on the morning of January 7,

2017. Id. Defendant provided Ms. Perez with $100 for Mr.

Mayfield’s jail account, which Ms. Perez placed in the account after

the meeting. Id.

     Later in the day on January 7, 2017, the Government alleges

that Defendant met with Ms. Perez at her home in Quincy, Illinois

to “discuss Ms. Perez driving from Illinois to Arizona to pick up a

package from Defendant and bring it back to Illinois. Ms. Perez

understood that the package would contain controlled substances.

She agreed with Defendant to do so.” Id. at 3. The Government

also alleges that Defendant and Ms. Perez met for a third time on

January 10, 2017, to discuss the details of the conspiracy. The

Government contends that Defendant and Ms. Perez “agreed that


                            Page 2 of 20
Ms. Perez would drive from her home in Quincy, Illinois to a

location, designated by Defendant, in Arizona for the purpose of

bringing a package of controlled substances back to Quincy,

Illinois. Defendant would pay her $5,000 to bring the drugs back

and would pay for her expenses.” Id. Further, Defendant suggested

that Ms. Perez recruit another person to help Ms. Perez complete

the trip without needing to stop so Ms. Perez recruited Amanda

Jaco, a resident of Missouri and co-worker of Ms. Perez at Illinois

Veterans Home in Quincy, Illinois. Id. Defendant and Ms. Perez

continued to discuss the details of their conspiracy between

January 10 and January 18, 2017. Id. at 4.

     On January 17, 2017, Ms. Perez left her home in Quincy,

Illinois and picked up $7,000 from Defendant’s sister in Hannibal,

Missouri. Id. Ms. Perez then met Ms. Jaco at Ms. Perez’s home and

left for Arizona around midnight. Id. The two arrived at the

Staybridge Suites in Glendale, Arizona around midnight on January

19, 2017. Id. Defendant arranged and paid for that hotel room. Id.

Defendant met Ms. Perez and Ms. Jaco at the hotel room

approximately an hour later. Id. After a brief discussion,

Defendant took Ms. Perez’s keys, left the room, and returned shortly


                            Page 3 of 20
after. Ms. Perez believes that Defendant was placing the controlled

substances in her trunk. Id. After returning to the room,

Defendant discussed the return trip and stated that he was going to

take a flight back to Illinois to retrieve the package from them at

Ms. Perez’s home in Quincy, Illinois. Id. On January 19, 2017, Ms.

Perez and Ms. Jaco left the hotel room to begin their return trip to

Quincy, Illinois. Id. at 5. However, shortly after leaving the hotel

room, their vehicle was stopped by law enforcement in Apache

County, Arizona. Id. A search of the vehicle with consent was

completed, and 4,994 grams of methamphetamine and 454 grams

of cocaine were discovered in a package in the trunk. Id.; Motion,

d/e 40, p. 4. Thereafter, Ms. Perez and Ms. Jaco were arrested in

Apache County for possession of dangerous drug/sale/transport in

violation of the laws of Arizona. See Motion, d/e 40, p. 4.

     At the time of that arrest, Defendant was a resident of and

domiciled in the State of Arizona. See Motion, d/e 40, p. 5.

     On June 7, 2017, an indictment was filed against Ms. Perez

and Mr. Mayfield in the Central District of Illinois for conspiring to

possess with intent to distribute 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine


                             Page 4 of 20
and to possess with intent to distribute 280 grams or more of a

mixture or substance containing cocaine base in violation of 21

U.S.C. §§ 846, 841(a)(1), (b)(1)(A)(iii), (b)(1)(A)(viii), and (b)(1)(C) in

United States v. Perez, et al., case no. 17-cr-30036. See Indictment,

d/e 1, case no. 17-cr-30036. On March 6, 2018, a superseding

indictment was filed alleging the same conspiracy, but adding six

new counts against Mr. Mayfield for using a communication facility

to facilitate a drug felony. See Superseding Indictment, d/e 33,

case no. 17-cr-30036. Ms. Perez ultimately pled guilty and agreed

to cooperate against Mr. Mayfield. Mr. Mayfield pled not guilty and

was acquitted by a jury.

      On September 27, 2017, Inspector Hiland, a member of the

West Central Illinois Drug Task Force, met with Ms. Perez to

conduct an interview. See Response, d/e 54, p 3. During the

interview, Ms. Perez stated that when Defendant originally

contacted her on January 7, 2017, he was identified as “Pacman.”

She stated that she learned his name was Christopher Harris when

he sent her the January 19, 2017 hotel confirmation, which had his

name on it. Id. at 4. After Ms. Perez had informed Inspector Hiland

that she had met Defendant on at least four occasions and knew


                                Page 5 of 20
his name to be Christopher Harris, Inspector Hiland showed Ms.

Perez a photograph of Defendant from his Arizona Driver’s License.

Id.; Motion, d/e 41, p. 2. The photograph did not contain

Defendant’s name. See Response, d/e 54, p. 4. After viewing the

photograph, Ms. Perez confirmed that the photograph was of the

individual she knew as Christopher Harris or Pacman. Id. Ms.

Perez later confirmed her identification while testifying in front of a

grand jury on May 1, 2018. Id.

     On May 2, 2018, a grand jury returned an indictment against

Defendant Christopher Harris in the Central District of Illinois for

conspiracy to possess with intent to distribute 500 grams or more

of a mixture or substance containing a detectable amount of

methamphetamine substance, and, as part of the conspiracy,

Defendant made arrangements with other conspirators to transport

500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine from Arizona to Illinois for

distribution in violation of 21 U.S.C. §§ 846, 841(a)(1), and

(b)(1)(A)(viii). See Indictment, d/e 1. No other co-conspirators,

including Ms. Perez and Mr. Mayfield, were named in the

indictment. On November 6, 2018, Defendant was arrested on the


                             Page 6 of 20
instant charge. On August 20, 2019, the Government filed a

superseding indictment, which added special findings pursuant to

21 U.S.C. § 851, but the charges remained the same. See

Superseding Indictment, d/e 27.

                            II. ANALYSIS

     A. Venue Is Proper in the Central District of Illinois.

     Defendant argues that venue in the Central District of Illinois

violates the Constitution, and asks the Court to dismiss the case

pursuant to Federal Rules of Criminal Procedure 18 and 12(3)(A)(i).

Alternatively, Defendant argues that the Court should transfer the

case to the United States District Court for the District of Arizona

pursuant to Rule 21(b).

     Article III of the Constitution requires that criminal trials be

held in the state where the crime was committed. Art. III § 2 cl. 3.

Further, the Sixth Amendment provides that criminal prosecutions

must proceed in “the State and district wherein the crime shall have

been committed.” U.S. Const. amend. VI. “The Federal Rules of

Criminal Procedure provide for the practical application of this

guarantee by providing that ‘the prosecution shall be had in a

district in which the offense was committed.’” United States v.


                             Page 7 of 20
Muhammad, 502 F.3d 646, 651 (7th Cir. 2007) (quoting Fed. R.

Crim. P. 18.). “[B]ecause venue is not an element of the offense, the

Government has the burden of establishing venue by a

preponderance of the evidence rather than by the higher standard

of beyond a reasonable doubt.” Muhammad, 502 F.3d at 652.

     Defendant is charged with conspiracy to distribute and

transport a mixture or substance containing a detectable amount of

methamphetamine. To prove the crime of conspiracy to distribute

methamphetamine the government must prove: “(1) two or more

people agreed to commit an unlawful act, and (2) the defendant

knowingly and intentionally joined in the agreement.” United

States v. Cooper, 767 F.3d 721, 727 (7th Cir. 2014). The crime of

conspiracy is committed wherever the agreement takes place, even

if no overt action is taken. United States v. Shabani, 513 U.S. 10

(1994). For a continuing crime like conspiracy, Congress has

determined that venue is proper in any district in which the offense

began, continued, or completed. 18 U.S.C. § 3237(a); United States

v. Ochoa, 229 F.3d 631, 636 (7th Cir. 2000) (“[T]he traditional rule

is that a conspiracy charge may be tried in any district in which an

overt act of the conspiracy occurred.”); United States v. Gonzalez,


                            Page 8 of 20
683 F.3d 1221, 1225 (9th Cir. 2012) (“To determine whether venue

is proper we ask not whether all of the elements of a conspiracy

were committed in the district of venue, but rather, whether a

conspirator committed an act in furtherance of the conspiracy in

that district.”).

      Here, Defendant argues that venue is only proper in the

District of Arizona because Defendant’s domicile is in Arizona, and

because the operative facts upon which the offense is buttressed

occurred in Arizona. Motion, d/e 40, p. 2. However, this argument

only supports a finding that venue may be permissible in the

District of Arizona, not that it is impermissible in the Central

District of Illinois. The Government alleges that the conspiracy

began in this district when Defendant had an in-person meeting

with Ms. Perez and discussed the details of the conspiracy.

Further, the Government alleges that multiple communications

regarding the conspiracy were directed into this district by

Defendant, and the recruitment of a co-conspirator, Ms. Jaco,

occurred in this district.

      These allegations, if proved by a preponderance of the

evidence, are sufficient to establish venue. Other circuits have


                             Page 9 of 20
found that merely conducting communications with someone

located in the relevant district, without ever being physically

present in the district and without even being the one who places

the call, is sufficient to establish venue. United States v. Gonzalez,

683 F.3d 1221, 1225 (9th Cir. 2012); United States v. Rommy, 506

F.3d 108, 122 (2d Cir. 2007) (“What is determinative of venue . . . is

whether the conspirator used the telephone call to further the

objectives of the conspiracy.”). See also, Andrews v. United States,

817 F.2d 1277, 1279 (7th Cir. 1987) (finding venue was

constitutional where defendant was convicted of using the

telephone to facilitate distribution of cocaine and he was tried in the

district the call originated from when he was aware that the call

originated from that district, even though he was never physically

present in that district). Here, not only does the Government allege

that Defendant conducted communications with a co-conspirator

within the district regarding the conspiracy, but the Government

alleges that Defendant was also physically present and met with co-

conspirators in furtherance of the conspiracy. Assuming the

Government will be able to prove these allegations by a

preponderance of evidence at trial, venue is constitutionally


                            Page 10 of 20
permitted in the Central District of Illinois. Defendant’s motion to

dismiss the indictment is, therefore, denied with leave to reinstate if

Defendant believes the Government has not met its burden at trial.

     Alternatively, Defendant requests a transfer of venue.

Pursuant to Rule 21(b), the Court has discretion to “transfer the

proceeding, or one or more counts, against that defendant to

another district for the convenience of the parties, any victim, and

the witnesses, and in the interest of justice.” Fed. R. Crim. 21(b);

United States v. Morrison, 946 F.2d 484, 489 (7th Cir. 1991).

When deciding whether to transfer a criminal case, the Court

considers the factors set forth in Platt v. Minnesota Min. & Mfg. Co.,

376 U.S. 240, 84 S. Ct. 769 (1964), which include: “the location of

the defendant and possible witnesses, to disruption of the

defendant’s business unless the case is transferred, to the expenses

which might be incurred by the parties, the location of counsel, and

accessibility of the place of trial, to the docket conditions in the

districts involved as well as other special considerations.” United

States v. Jordan, 223 F.3d 676, 685 (7th Cir. 2000) (citing Platt,

376 U.S. at 245-46). Defendant does not need to show compelling

circumstances, rather, “[i]t is enough if, all relevant things


                             Page 11 of 20
considered, the case would be better off transferred to another

district.” Matter of Balsimo, 68 F.3d 185, 187 (7th Cir. 1995).

     Defendant’s Motion does not explicitly comment on these

factors, but does mention that Defendant’s home state is Arizona

and that the traffic stop leading to the arrest of co-conspirators

occurred in Arizona. However, the Government contends that the

majority of the witnesses are located either in the Central District of

Illinois (including Ms. Perez and law enforcement officers), are

located closer to the Central District of Illinois than they are to

Arizona (including Ms. Jaco), or would require travel to whichever

district the case is tried in for the purposes of authenticating

documents. The Government foresees only two potential witnesses

being called from Arizona: the arresting officer of Perez and Jaco,

and the forensic analyst who tested the methamphetamine and

cocaine at issue. Moreover, while events relevant to the conspiracy

took place in Arizona, relevant events are also alleged to have taken

place in Quincy, Illinois. Notably, the Government alleges that

Defendant met with co-conspirators in Quincy, Illinois, that

Defendant conducted communications in Quincy, Illinois, and that

the drugs were intended to be distributed in Quincy, Illinois.


                             Page 12 of 20
Counsel for both parties are in the Central District of Illinois. The

Court also considers the fact that matters related to this conspiracy

have already been heavily litigated in this district.

     While venue may be permissible in the District of Arizona, the

Court finds that the Platt factors do not favor transfer of the case

and that transfer of the case would not be in the interests of justice

under Rule 21(b). Accordingly, the Court denies Defendant’s

Motion to Dismiss or Alternatively Transfer Venue (d/e 40).

     B. Defendant’s Six Amendment Speedy Trial Right Was
       Not Violated.

     Defendant filed a motion to dismiss the indictment arguing

that his Sixth Amendment speedy trial right was violated. When

assessing a speedy trial claim, a court should consider the following

factors: “[l]ength of delay, the reason for the delay, the defendant's

assertion of his right, and prejudice to the defendant.” Barker v.

Wingo, 407 U.S. 514, 530 (1972); see also, Doggett v. United States,

505 U.S. 647, 651 (1992) (stating factors to consider are “whether

delay before trial was uncommonly long, whether the government or

the criminal defendant is more to blame for that delay, whether, in

due course, the defendant asserted his right to a speedy trial, and



                             Page 13 of 20
whether he suffered prejudice as the delay's result.”). Different

reasons for delay should be given different weights:

     A deliberate attempt to delay the trial in order to hamper
     the defense should be weighted heavily against the
     government. A more neutral reason such as negligence or
     overcrowded courts should be weighted less heavily but
     nevertheless should be considered since the ultimate
     responsibility for such circumstances must rest with the
     government rather than with the defendant. Finally, a
     valid reason, such as a missing witness, should serve to
     justify appropriate delay.

Baker, 407 U.S. at 530.

     Defendant complains that the Government delayed in bringing

charges against him and arresting him when the Government knew

of Defendant’s alleged involvement in the Mayfield/Perez conspiracy

as early as March 2017. The Government did not obtain an

indictment against Defendant until May 2018, and Defendant was

not arrested until November 2018. Defendant argues that the delay

between the Government knowing about his alleged involvement

and his arrest violates his speedy trial right.

     However, being investigated for a crime does not start the

speedy trial clock. United States v. Richardson, 780 F.3d 812, 813

(7th Cir. 2015) (“Someone who is only the target of a criminal

investigation has no right to have the government wrap up its


                             Page 14 of 20
investigation quickly and bring charges, even if the target is aware

of the investigation.”). Defendant’s speedy trial right did not start

until he was formally accused. United States v. Clark, 754 F.3d

401, 405 (7th Cir. 2014) (“The Sixth Amendment speedy trial right,

from which the Speedy Trial Act draws its substance, applies only

to persons who are formally accused of a crime.”). The filing of an

indictment triggers a defendant’s Sixth Amendment speedy trial

right. Id. at 815 (stating that “arrest [provided the person arrested

isn't immediately released], indictment, or other official accusation”

triggers the right). In this case, the delay between the indictment in

May 2018 and Defendant’s arrest in November 2018 amounted to

six months. The Court finds that the length of the delay was not

great nor prejudicial to Defendant and did not infringe on his Sixth

Amendment speedy trial right.

     The Court also notes that the delay from Defendant’s arrest to

his pending trial date are a result of continuations requested by

Defendant. Defendant did not assert his speedy trial right until

July 2020. Such actions are taken into consideration as one of the

factors and weighs against Defendant. See United States v. Allen,

664 Fed. Appx. 574, 577 (7th Cir. 2016) (“Just as we give significant


                            Page 15 of 20
weight to the defendant’s assertion of the right, a failure to assert it

will make it difficult for a defendant to prove that he was denied a

speedy trial.”).

     The Court finds that Defendant has failed to prove that his

Sixth Amendment speedy trial right was infringed and denies his

Motion to Dismiss (d/e 42).

    C. The Identification of Defendant Was Not Unduly
Suggestive.

     Defendant argues that Ms. Perez’s identification of him on

September 27, 2017, was unduly suggestive and should be

suppressed. A witness’s identification of a defendant violates a

defendant’s due process rights “when the identification procedure is

so impermissibly suggestive as to give rise to a very substantial

likelihood of irreparable misidentification.” Lee v. Foster, 750 F.3d

687, 691 (7th Cir. 2014) (quoting United States v. Recendiz, 557

F.3d 511, 524 (7th Cir. 2009)). To determine whether an

identification should be suppressed as a violation of due process,

the Court applies a two-step inquiry. First the Court considers

“whether the identification procedure used by law enforcement was

‘both suggestive and unnecessary.’” United States v. Sanders, 708



                             Page 16 of 20
F.3d 976, 983–84 (7th Cir. 2013) (citing Perry v. New Hampshire,

132 S. Ct. 716, 724 (2012)). If the Court determines that the

identification fails the first prong, the Court next examines “the

“totality of the circumstances” to determine whether other indicia of

reliability ‘outweigh[ ] ... the corrupting effect of law enforcement

suggestion.’” Id.

     The procedure used here was unnecessary, but not unduly

suggestive. Ms. Perez was only shown a single photograph of

Defendant and asked whether the individual was her co-

conspirator. The use of a single photograph as opposed to a

photograph array was not necessary, and the Government does not

argue otherwise. Defendant argues that the procedure was also

unduly suggestive. A show-up procedure, whereby the police

present a single person to the victim or witness of a crime, has

repeatedly been condemned in caselaw as inherently suggestive.

See, e.g., United States v. Gonzalez, 863 F.3d 576, 584 (7th Cir.

2017) (collecting cases); Stovall v. Denno, 388 U.S. 293, 302, 87 S.

Ct. 1967, 1972 (1967) (noting that the practice is “widely

condemned”); United States v. Funches, 84 F.3d 249, 254 (7th Cir.

1996) (“A show-up is inherently suggestive because the witness is


                             Page 17 of 20
likely to be influenced by the fact that the police appear to believe

the person brought in is guilty, since presumably the police would

not bring in someone that they did not suspect had committed the

crime.”). However, the Seventh Circuit has not addressed whether a

photographic show-up, rather than an in-person show-up presents

the same problem. See United States v. Sanders, 708 F.3d 976,

984 (7th Cir. 2013) (reserving this question). But, here, the

suggestiveness of the photograph identification is further

diminished. Ms. Perez was not identifying a stranger she had only

briefly seen. Rather, Ms. Perez was identifying her co-conspirator

after sharing that she had met him multiple times and knew his

name. There is no indication that Ms. Perez would have been

suggestable in such a way that she would be likely to make an

incorrect identification.

     Moreover, even if the procedure could be described as unduly

suggestive, the identification was sufficiently reliable. The Court

looks to the following factors to determine whether an unduly

suggestive identification was reliable under the circumstances: “(1)

the opportunity of the witness to observe the criminal at the time of

the crime (or prior to the identification); (2) the witness’s degree of


                             Page 18 of 20
attention; (3) the accuracy of the witness’s prior description of the

criminal; (4) the level of certainty demonstrated by the witness at

the time of the identification; and (5) the length of time between the

crime and the identification.” Lee v. Foster, 750 F.3d 687, 692 (7th

Cir. 2014) (citing Neil v. Biggers, 409 U.S. 188, 199–200, 93 S.Ct.

375 (1972)).

     Defendant has not articulated what he believes makes Ms.

Perez’s identification unreliable under these factors, and the Court

finds that the identification was reliable. Unlike most challenged

identifications, Ms. Perez was not making an identification of a

stranger she had seen during a quick interaction. Prior to making

the identification, Ms. Perez had alleged that she had the

opportunity to meet Defendant four times for significant periods of

time. She alleged she met Defendant at the Microtel Hotel in

Quincy, Illinois, on the morning of January 7, 2017, and later that

day at her home. She also alleged that she met with Defendant on

January 10, 2017, to discuss the conspiracy. Finally, she alleged

she met Defendant on January 19, 2017, in a hotel room he had

arranged in Arizona. She alleges that he stayed with her for a total

of approximately a half an hour in the hotel room, a small well-lit


                            Page 19 of 20
space. Ms. Perez also provided Defendant’s name prior to being

shown the photograph. Moreover, Ms. Perez did not waver in her

identification. On this record, the Court finds the identification

sufficiently reliable to go to a jury and denies Defendant’s Motion to

Suppress (d/e 41).

                            III. CONCLUSION

     For the reasons above, Defendant Christopher Harris’ Motion

to Dismiss or Alternatively Transfer Venue to the United States

District Court for the District of Arizona (d/e 40) is DENIED with

leave to reinstate at trial after the Government rests. Defendant’s

Motion to Dismiss Indictment for Violation of Sixth Amendment

Speedy Trial Right (d/e 42), and Motion to Suppress Unduly

Suggestive Identification (d/e 41) are DENIED.



ENTERED: June 15, 2021.
FOR THE COURT:
                      s/ Sue E. Myerscough__
                     SUE E. MYERSCOUGH
                     UNITED STATES DISTRICT JUDGE




                            Page 20 of 20
